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 8                         UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11   APOSTLE MAMAKAS,                                   Case No.: 20-CV-0815 W (AHG)
12                                     Plaintiff,
                                                        ORDER GRANTING JOINT
13   v.                                                 MOTION TO DISMISS WITH
                                                        PREJUDICE [DOC. 14]
14   MIDLAND CREDIT MANAGEMENT,
15
                                     Defendant.
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17         Pending before the Court is a joint motion to dismiss this action with prejudice.
18   Good cause appearing, the Court GRANTS the joint motion [Doc. 14] and ORDERS the
19   case DISMISSED WITH PREJUDICE, each party to bear their own attorneys’ fees
20   and costs.
21         IT IS SO ORDERED.

22   Dated: October 20, 2020

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